               USPS 'TRACKING#
                                                                           First-Class Mail
IN/ND case 3:23-cv-00967-DRL-MGG document 8-3 filed  02/01/24
                                                 Postage & Fees Paidpag

       IIIU 111111111                               111111                 USPS
                                                                           Permit No. G-10

     959 □   9402 8513 3186 8269 62
   United States       • Sender. Please print yot1r name, address, and ZIP+4® in this box•
   Postal Service
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                         PD BD>l 82.,'18'
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  SENDER: COMPLETE THIS SECTION
IN/ND  case 3:23-cv-00967-DRL-MGG document 8-3 filed 02/01/24 pag
  ■ Complete items 1, 2, and 3.
                                                                                                                                                  □ Agent
  ■ Print your name and address on the reverse
     so that we can· return the card to you.                                                                                                      0 Addressee
  ■ Attach this card to the back of the mailpiece,
                                                                                      B.                                                  C. Date of Delivery
     or on the front if space permits.
  1. Article Addressed to:                                                            D. Is delivery address different from item 1? 0 Yes

  t=,t)A.,      P~ ~Je6'fie, ro.                             tnc,
                                                                                         If YES, enter delivery address below:      □ No



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                                                                                            3. Service Type                               □ Priority Mall Express®
                                                                                            □ Adult Signature                             □ Registered Mall™

        IIIIIIIII IIII IIIHllllllll 11111111111111111111 ..                                 □ Adult Signature Restricted Delivery
                                                                                            □ Certified Mail®
                                                                                                                                          □ Registered Mail Restricted
                                                                                                                                             Delivery
                                                                                            □ Certified Mall Restricted Delivery •        □ Signature ConfirmaHor:i™
                9590 9402 8513 3186 8269 62                                                 □ Collect on Delivery                         □ Signature Confirmation
                                                                                 -0,------1 □ Collect on Delivery Restricted Delivery
-~.,,..-Art~ic..,.le""'N"'"u-.m..,.b-er-(li=ran,--s~fe-,fro~m_s_e-_rvli_c_e_-labe-_                                                          Restricted Delivery
                                                                                            □ Insured Mall
                                                                                            □ Insured Mall Restricted Delivery.
                                                                                               over$5                 ·•<>-,,..  ····, ...., •
 PS F<_>,!11138~ 1, July 2020 PSN 7530-02-000-9053                                                                              - Domestic Return Receipt
